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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

DAYEA KIM,

              Plaintiffs,

v.                                            Case No. 3:23-CV-00441-TJC-JBT

PGA TOUR, INC.,

           Defendants.
__________________________/

                   JOINT NOTICE REGARDING MEDIATION

        On November 15, 2023, this Court Ordered the Parties to discuss whether early

mediation would be productive and submit a joint notice regarding mediation. The

Parties state that they have discussed early mediation and have agreed it will not be

productive at this point in litigation.


Dated: December 18, 2023

 MCGUIREWOODS LLP                         PAUL M. DAVIS & ASSOCIATES, P.C.

 /s/ Thomas R. Brice___________           /s/ Paul M. Davis
 Thomas R. Brice                          Paul M. Davis
 Florida Bar No. 0018139                  9355 John W. Elliott Dr., Suite 25454
 tbrice@mcguirewoods.com                  Frisco, TX 75033
 Cameron G. Kynes                         Telephone: (954) 348-7884
 Florida Bar No. 0116711                  paul@fireduptxlawyer.com
 ckynes@mcguirewoods.com
 50 North Laura Street, Suite 3300        Counsel for Plaintiff
 Jacksonville, FL 32202
 Telephone: (904) 798-2629
 Facsimile: (904) 360-6335

 Counsel for Defendant



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                           CERTIFICATE OF SERVICE

        I hereby certify that on December 18, 2023, a true copy of the foregoing was

filed with the Court using the CM/ECF system, which will send notice to the

following:

                                Paul M. Davis, Esq.
                          Paul M. Davis & Associates, P.C.
                        9355 John W. Elliott Dr., Suite 25454
                                 Frisco, TX 75033
                             paul@fireduptxlawyer.com


                                              /s/ Thomas R. Brice
                                                    Attorney




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